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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


 BRIAN HUDDLESTON,

           Plaintiff,

 vs.
                                                       Case No. 4:20-cv-447-ALM
 FEDERAL BUREAU OF
 INVESTIGATION and UNITED STATES
 DEPARTMENT OF JUSTICE

          Defendant


       PLAINTIFF’S MOTION TO ENJOIN DEFENDANTS FROM FILING FURTHER
           MOTIONS FOR SUMMARY JUDGMENT OR RECONSIDERATION

         NOW COMES Brian Huddleston, the Plaintiff, moving the Court to enjoin the

 Defendants from filing further motions for summary judgment or reconsideration:

         The Plaintiff incorporates by reference Plaintiff’s Reply in Support of Motion for an

 Order to Show Cause Why the FBI Should not be Held in Contempt (“Reply”)(Dkt. #198). For

 the reasons set forth on pages 9-10, the Plaintiff moves the Court to enjoin the Defendants from

 filing any further motions for summary judgment or motions for reconsideration until such time

 as (1) the FBI produces complete and legally-sufficient Vaughn indexes pursuant to the Court’s

 August 16, 2024 Amended Memorandum Opinion and Order (Dkt. #178); or (2) a special master

 can review the contents of Seth Rich’s personal laptop, work laptop, and the related discs and

 tape drives. The FBI opted to file Vaughn indexes rather than a motion for summary judgment,

 and it should complete those Vaughn indexes before rehashing the same arguments in another

 motion for summary judgment or motion for reconsideration.




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                                             Respectfully submitted,

                                             /s/ Ty Clevenger
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                                             Counsel for Plaintiff Brian Huddleston




                                   Certificate of Conference

        On May 15, 2025, I conferred with Asst. U.S. Attorney James Gillingham via telephone,
 and he indicated that the Defendants will oppose this motion.

                                             /s/ Ty Clevenger
                                             Ty Clevenger



                                     Certificate of Service

        On May 15, 2025, I filed a copy of this request with the Court’s ECF system, which
 should result in automatic notification via email to Asst. U.S. Attorney James Gillingham,
 Counsel for the Defendants, at james.gillingham@usdoj.gov.

                                             /s/ Ty Clevenger
                                             Ty Clevenger




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